






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-179 CR


____________________



JAMES RAY SPIKES, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 87270






MEMORANDUM OPINION (1)


	James Ray Spikes was convicted and sentenced on an indictment for driving while
intoxicated, third offense.  Spikes filed a notice of appeal on April 4, 2003.  The trial court
entered a certification of the defendant's right to appeal in which the court certified that
this is a plea-bargain case, and the defendant has no right to appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On April 17, 2003, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record by May 17, 2003.  See Tex. R. App. P. 37.1.  The record has
not been supplemented with an amended certification.  Because a certification that shows
the defendant has the right of appeal has not been made part of the record, the appeal must
be dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

					

								PER CURIAM


Opinion Delivered May 22, 2003 

Do Not Publish


Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


